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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


Michael D. Van Deelen,                      )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )
                                            )
David R. Jones, Elizabeth Carol Freeman,    )         Case No. 4:23-cv-3729
Jackson Walker, LLP, Kirkland & Ellis, LLP, )
and Kirkland & Ellis International, LLP,    )
                                            )
       Defendants.                          )
                                            )
                                            )
                                            )

  DEFENDANTS KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL
                        LLP’S MOTION TO SEAL

           Defendants Kirkland & Ellis LLP and Kirkland & Ellis International LLP (“Kirkland”) hereby

move to file portions of their Motion to Dismiss under seal. The Motion to Dismiss quotes from a

document that was sealed by the Bankruptcy Court: Docket 39, Case No. 20-03309 (Bankr. S.D. Tex.).

In addition, because Kirkland seeks only to redact a single quote from the sealed document, “the extent

of sealing [i]s congruent to the need.” Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 420 (5th Cir.
2021). While Kirkland does not believe that the information quoted in its motion would independently

meet the sealing standard, Kirkland files this motion to avoid public disclosure of information the

Bankruptcy Court has sealed. Kirkland has therefore filed a redacted public version of its motion and

an unredacted version of its motion under seal.




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DATED: March 18, 2024                    Respectfully submitted:

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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on March 18, 2024, a true and correct copy of this document was served on
the following counsel of record via the Court’s CM/ECF system and by e-mail in compliance with the
Federal Rules of Civil Procedure and Southern District of Texas Local Rule 5.3:

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                                     By: /s/ Jacqueline M. Furlow
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